Case 5:19-cv-01971-RGK-SHK Document 1 Filed 10/15/19 Page 1 of 6 Page ID #:1



 1   WAJDA LAW GROUP, APC
     Nicholas M. Wajda (Cal. Bar No. 259178)
 2   6167 Bristol Parkway
 3   Suite 200
     Culver City, California 90230
 4   +1 310-997-0471
     nick@wajdalawgroup.com
 5
     Attorney for the Plaintiff
 6

 7                                 UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
 8
                                                          Case No. 5:19-cv-01971
 9

10                                                        COMPLAINT FOR DAMAGES
      PATRICIA ROMAN,
11                       Plaintiff,                       1. VIOLATION OF THE FAIR DEBT
                                                          COLLECTION PRACTICES ACT, 15
12            v.                                          U.S.C. § 1692 ET SEQ.
13                                                        JURY TRIAL DEMANDED
      THE BEST SERVICE COMPANY,
14
                         Defendant.
15
            NOW COMES Plaintiff, PATRICIA ROMAN, through counsel, WAJDA LAW GROUP,
16
     APC, complaining of Defendant, THE BEST SERVICE COMPANY, as follows:
17

18                                     NATURE OF THE ACTION

19          1.      This is an action brought by a consumer seeking redress for alleged violation(s) of
20   the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
21
                                      JURISDICTION AND VENUE
22
            2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
23
            3.      Venue in this district is proper under 28 U.S.C. § 1391(b)(2).
24
                                                  PARTIES
25

26          4.      PATRICIA ROMAN (“Plaintiff”) is a natural person, over 18-years-of-age, who at

27   all times relevant resided in Barstow, California.

28          5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
                                                       1
Case 5:19-cv-01971-RGK-SHK Document 1 Filed 10/15/19 Page 2 of 6 Page ID #:2



 1          6.      THE BEST SERVICE COMPANY (“TBSC”) is a collection agency with its
 2   principal place of business located in Culver City, California.
 3
            7.      TBSC is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as the principal
 4
     purpose of TBSC’s business is the collection of debt.
 5
            8.      TBSC is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as it regularly collects
 6

 7   or attempts to collect debts owed or due or asserted to be owed or due another.

 8                                      FACTUAL ALLEGATIONS

 9          9.      In July 2008, Plaintiff obtained a line of credit from Frontwave Credit Union f/k/a
10
     Pacific Marine Credit Union.
11
            10.     Plaintiff defaulted on the line of credit.
12
            11.     Plaintiff’s account (the “Account”) in the amount of $14,991.18 was charged off.
13
            12.     Plaintiff’s unpaid Account balance is a “debt” as defined by 15 U.S.C. § 1692a(5)
14

15   as it relates to an obligation or alleged obligation to pay money arising out of a transaction in which

16   the money, property, insurance, or services which is the subject of the transaction are primarily for
17   personal, family, or household purposes.
18
            13.     On February 7, 2019, Plaintiff filed a voluntary petition for relief under Chapter 7
19
     of the Bankruptcy Code.
20
            14.     Simultaneously, Plaintiff filed Schedules. On Schedule F: Creditors Who Have
21

22   Unsecured Claims, Plaintiff listed Frontwave Credit Union f/k/a Pacific Marine Credit Union.

23          15.     On May 20, 2019, the Bankruptcy Court entered an Order of Discharge for the

24   benefit of Plaintiff under 11 U.S.C. § 727.
25          16.     Plaintiff’s discharge by operation released Plaintiff’s personal liability on
26
     indebtedness owed to Frontwave Credit Union f/k/a Pacific Marine Credit Union.
27

28
                                                         2
Case 5:19-cv-01971-RGK-SHK Document 1 Filed 10/15/19 Page 3 of 6 Page ID #:3



 1           17.     Plaintiff’s Account was referred to TBSC to collect on the Account for the benefit
 2   of Frontwave Credit Union f/k/a Pacific Marine Credit Union.
 3
             18.     On September 16, 2019, TBSC sent Plaintiff an initial written communication (the
 4
     “Letter”) stating, in part:
 5
              Client:                   FRONTWAVE CREDIT UNION FKA PACIFIC MARINE
 6            Act. Type                 2004997-141
              Client Act. #:            60279388-147
 7            Total Balance:            $15,184.22
              Assigned Bal:             $14,991.18
 8            Annual int. rate:         10.00%

 9           Dear Patricia Roman

10           Your account has been assigned to our agency. The entire amount is due, owing, and unpaid….

11           19.     This Letter included a payment coupon with payment instructions, indicating that
12
     Plaintiff’s Account balance is $15,184.22.
13
             20.     This Letter is a “communication” as defined by 15 U.S.C. § 1692(a)(2) as it
14
     conveyed information regarding Plaintiff’s Account directly to Plaintiff.
15
             21.     TBSC’s post-discharge collection efforts caused Plaintiff anxiety and mental
16

17   anguish as Plaintiff believed he remains obligated to TBSC in spite of Plaintiff’s discharge.

18           22.     Concerned with violation(s) of protections afforded by bankruptcy laws, Plaintiff
19   sought counsel to ensure that TBSC’s post-discharge collection efforts ceased.
20
             23.     Accordingly, Plaintiff expended energy and time consulting with attorneys to file
21
     this action.
22
                                             CLAIMS FOR RELIEF
23

24                                                  Count I:
                                  TBSC’s violation(s) of 15 U.S.C. § 1692 et seq.
25
             24.     All paragraphs of this Complaint are expressly adopted and incorporated herein as
26
     though fully set forth herein.
27

28
                                                            3
Case 5:19-cv-01971-RGK-SHK Document 1 Filed 10/15/19 Page 4 of 6 Page ID #:4



 1                                            15 U.S.C. § 1692e
 2          25.     Section 1692e provides:
 3
                    A debt collector may not use any false, deceptive, or misleading
 4                  representation or means in connection with the collection of any debt.
                    Without limiting the general application of the foregoing, the following
 5                  conduct is a violation of this section.
 6                  (2)     The false representation of –
 7                          (A)     the character, amount, or legal status of any debt.
 8                  (10)    The use of any false representation or deceptive means to collect or
                            attempt to collect any debt or to obtain information concerning a
 9                          consumer.
10   15 U.S.C. §§ 1692e(2)(A) and e(10).
11
            26.     “A demand for immediate payment while a debtor is in bankruptcy is ‘false’ in the
12
     sense that it asserts that money is due, although, because of the discharge injunction (11 U.S.C. §
13
     524), it is not.” Randolph v. IMBS, Inc., 368 F.3d 726, 728 (7th Cir. 2004).
14

15          27.     TBSC’s Letter is objectively false and misleading in that it misrepresented the legal

16   status of Plaintiff’s debt by, inter alia, falsely representing that money is due, although because of

17   the discharge injunction, it is not; violating 15 U.S.C. §§ 1692e(2)(A), and e(10).
18                                            15 U.S.C. § 1692f
19
            28.     Section 1692f provides:
20
                    A debt collector may not use unfair or unconscionable means to collect or
21                  attempt to collect any debt. Without limiting the general application of the
                    foregoing, the following conduct is a violation of this section.
22
                    (1)     The collection of any amount (including any interest, fee, charge, or
23                          expense incidental to the principal obligation) unless such amount is
                            expressly authorized by the agreement creating the debt or permitted
24                          by law.
25
     15 U.S.C. § 1692f(1)
26

27

28
                                                        4
Case 5:19-cv-01971-RGK-SHK Document 1 Filed 10/15/19 Page 5 of 6 Page ID #:5



 1          29.     TBSC’s Letter seeking to collect Plaintiff’s debt, while that debt was subject to the
 2   bankruptcy discharge injunction, is unfair or unconscionable and, as a result, violates 15 U.S.C. §
 3
     1692f(1).
 4
            30.     Plaintiff may enforce the provisions of 15 U.S.C. §§ 1692e(2)(A), e(10), and f(1)
 5
     pursuant to section k of the Fair Debt Collection Practices Act (15 U.S.C. § 1692k) which provides
 6

 7   "any debt collector who fails to comply with any provision of [the Fair Debt Collection Practices

 8   Act] with respect to any person is liable to such person in an amount equal to the sum of -

 9          (1)     any actual damage sustained by such person as a result of such failure;
10          (2)
11
                    (A)    in the case of any action by an individual, such additional damages
12                         as the court may allow, but not exceeding $1,000.00; or

13          (3)     in the case of any successful action to enforce the foregoing liability, the
                    costs of the action, together with reasonable attorney's fees as determined by
14
                    the court.
15
            WHEREFORE, Plaintiff request the following relief:
16
            A.      find that TBSC violated 15 U.S.C. §§ 1692e(2)(A), e(10), and f(1);
17

18          B.      award any actual damage sustained by Plaintiff as a result of TBSC’s violation

19                  pursuant to 15 U.S.C. § 1692k(a)(1);

20          C.      award such additional damages, as the Court may allow, but not exceeding $1,000
21
                    pursuant to 15 U.S.C. § 1692k(a)(2)(A);
22
            D.      award costs of this action including expenses together with reasonable attorneys’
23
                    fees as determined by this Court pursuant to 15 U.S.C. § 1692k(a)(3); and
24
            E.      award such other relief as this Court deems just and proper.
25

26

27

28
                                                       5
Case 5:19-cv-01971-RGK-SHK Document 1 Filed 10/15/19 Page 6 of 6 Page ID #:6



 1                                      DEMAND FOR JURY TRIAL
 2           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in
 3
     this action so triable of right.
 4
     DATED: October 15, 2019                                      Respectfully submitted,
 5
                                                                  PATRICIA ROMAN
 6

 7                                                                By: /s/ Nicholas M. Wajda

 8                                                                Nicholas M. Wajda
                                                                  WAJDA LAW GROUP, APC
 9                                                                6167 Bristol Parkway
                                                                  Suite 200
10                                                                Culver City, California 90230
11                                                                +1 310-997-0471
                                                                  nick@wajdalawgroup.com
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       6
